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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF CONNECTICUT

                   PRO SE PRISONER CIVIL RIGHTS COMPLAINT



                                               CASE NO.    3: lcv I

PLAINTIFF(S) [Write the name(s) of the person(s) complaining. Do not use et al.]




vs.


DEFENDANT(S) [Write the name(s) of the person(s) you are suing. If you do not know a
name, write "John Doe" or "Jane Doe." Include the defendant's rank or title if you know
it. Do not use et al.]




Complete every section and SIGN THE LAST PAGE.

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A. JURISDICTION

Because federal courts cannot hear every kind of claim, you must identify the law that
says this court can hear your claim. There are two possibilities. Check one.

I can bring my complaint in federal court because I am suing:

   1.        _____ State, county or city employees for violating my federal rights
             under 42 U.S.C. Sec. 1983/1985/1986; OR

   2.              ~     Federal employees for violating my federal rights under Bivens v.
             Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971)
             and 28 U.S.C. Sec. 1331.


B. PLAINTIFF (THE PERSON FILING THIS COMPLAINT)

   If there is more than one plaintiff, attach additional pages. Provide items a, b, and c
   for each plaintiff.

        1.    First Plaintiff
              a.     Eull Name:
                     ~c,.,..0\ l'Vlr'il t.,wl /\-t c\          l:e \=:"\.   -E'..   v\
              b.     Inmate Number:                d
                      ~ LJ-o " i; c_; ··- 3, ·-r:1
              c.     Correctional facility:
                      f- ~.   l   ). _;> C-\...v, L, t,vr--j
C. DEFENDANT (THE PERSON WHOSE ACTIONS YOU ARE COMPLAINING
   ABOUT)

   If you are suing more than six defendants, attach additional pages. Provide items a,
   b, and c for each defendant.

        1. First Defendant
            a.    Full Name:
                                                          .            .                 .   \
              b.      Rank or Title: \.,L)o,,vd5.v;                  (F, [ i) u'-''"',b l,v:/1)
              C.     Workplace:
                                           F C i f)                  ov'~\    lJ\,c•~\



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       2. Second Defendant
           a.  Full Name:

            b.    Rank or Title:

            C.    Workplace:

       3. Third Defendant
           a.    Full Name:

            b.    Rank or Title:

            C.    Workplace:

       4. Fourth Defendant
            a.    Full Name:

            b.    Rank or Title:

           C.     Workplace:

       5. Fifth Defendant
           a.    Full Name:

           b.     Rank or Title:

           C.     Workplace:

       6. Sixth Defendant
           a.    Full Name:

           b.     Rank or Title:

           C.     Workplace:

D. REASON FOR COMPLAINT

WARNING: Contact Inmate Legal Aid Program. Common mistakes can get your
case dismissed as frivolous or for failure to state a good legal claim. If this happens,
you will still have to pay the filing fee, even if you are proceeding in forma pauperis. To
avoid losing your filing fee, please read this information carefully and consult Inmate Legal
Aid Program before you file.


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1. Failure to use the prison grievance process before suing. If you have not followed all
the steps in the grievance process before you come to court, the defendants may ask the
Court to dismiss your claims for "failure to exhaust administrative remedies."

2. Complaining about incidents that happened a long time ago: If you are suing about
events that happened more than three years ago, the defendants may ask the Court to
dismiss your case under the "statute of limitations.;;

3. Suing people who were not personally involved: You can generally only sue
defendants who were directly involved in harming you. In order to sue a supervisor, you
must usually show that the supervisor knew about the actions of other defendants and
failed to stop them.

4. Suing defendants who have immunity to suit for money damages: You generally
cannot sue the following people and entities for money damages: the State of
Connecticut; agencies of the state (like the Department of Correction); the United States
government; the President of the United States (for actions taken while President); judges
(for actions taken in connection with judicial duties); parole board officers (for actions
taken in imposing parole conditions or revoking parole); prosecutors (for actions taken in
performing duties integral to the criminal judicial process). If you think you have a claim
for money damages against such people or entities, check with Inmate Legal Aid Program
first. If you name defendants who are immune to suit from money damages and your suit
is dismissed on that basis, you will lose your filing fee.

5. Complaining about a criminal conviction or prison disciplinary proceeding that resulted
in loss of good time credits or other change to your time in prison. If winning your claims
"would necessarily imply the invalidity" of a criminal conviction or prison disciplinary
punishment affecting the time served, then you cannot make these claims under Section
1983 unless you have already had the conviction or prison disciplinary proceeding
invalidated, for example through a habeas proceeding. See Heck v. Humphrey, 512 U.S.
477, 487 (1994).

Please note that this is not a complete list of the problems you might encounter with your
case. The Court cannot give you legal advice and will not appoint a lawyer for you until
it is clear that you have a good legal claim. Until then, your best strategy is to call the
Inmate Legal Aid Program before you file a complaint. If Inmate Legal Aid Program says
you do not have a good case, you should consider that advice very seriously.

Now you need to explain how your federal rights were violated (remember that not every
violation of state law or prison regulations amounts to a violation of federal law). What
you need tote!! the Court is who did what, when they did it and how you were harmed.




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You do not need to cite to the Constitution, any statutes, or any cases. However, it is
important to be specific about dates, times, and the names of the people involved. It is
helpful to put each important fact in a separate, numbered paragraph.

If you do not know the name of the person who harmed you, call that person Defendant
Doe and provide some information from which it will be possible to identify the person -
for example, gender, rank and shift. If there is more than one defendant whose name
you do not know, call them Defendant Doe1, Defendant Doe2, and so on.

Here is an example of the proper way to describe your claims:

Example of Statement of Case
1. On April 12, 2015, I fell and injured my foot during a basketball game with other
   prisoners.
2. After the game, I asked Defendant CO Brian Smith to let me see the nurse. Defendant
   CO Brian Smith told me that I could not see the nurse because it was not an
   emergency.
3. During the afternoon, my foot became swollen and very painful.
4. At about 5 p.m., in the presence of my cellmate Bill Bloggs, I told Defendant Lieutenant
   Jane Doe, who was the shift supervisor, that I needed a doctor and showed her my
   swollen foot.
5. Defendant Lieutenant Jane Doe brought me two Tylenol and told me that I could not
   see the nurse until sick call the next morning.
6. The next day, I could not get out of bed because my foot was so swollen and painful. I
   had to go to hospital and have an operation to fix my foot.
7. I had to take pain medication for two months after the operation and have needed a
   walking stick for support since that time.
Now describe your claims.




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F.      oo You WISH TO HAVE A JURY TRIAL? YES                                  L           No#

G.     DECLARATION UNDER PENAL TY OF PERJURY

Warning: You must sign this or your complaint will not be filed.

By signing this complaint, I certify under penalty of perjury that the information contained
in this complaint is true and accurate to the best of my knowledge. I understand that if I
lie in this complaint, I may be prosecuted for perjury, and punished with as much as five
(5) years in prison and/or a fine of $250,000. See 18 U.S.C. Sections 1621, 3571.


Signature:   _,,_/4_._,_'-f_i,{,,_W_v_wf._,1_~-"''~)-~,,_Jc_·~_·
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                                 ·   (Locatibn)                                            (Date)


If there are additional plaintiffs, attach another page with the name and signature of each
plaintiff on it. The complaint cannot be filed without a signature from each plaintiff.

H.     FINAL INSTRUCTIONS

WARNING: Your complaint will not be filed unless you complete each of these steps:

       1.           Answer all questions on the complaint form.

       2.           Sign the Declaration under Penalty of Perjury on p. 7

Remember, the Clerk cannot file your complaint unless you take all of the steps above.



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